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 1   HEATHER E. WILLIAMS, SBN #122664
     Federal Defender
 2   VICTOR M. CHAVEZ, SBN #113752
     Assistant Federal Defender
 3   Designated Counsel for Service
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 4   Fresno, CA 93721-2226
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 6   Attorneys for Defendant
     RAYMOND SLATON
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-00170 LJO-SKO-1
                                                  )
12                     Plaintiff,                 )   STIPULATION TO RESET MOTIONS
                                                  )   SCHEDULE; ORDER; Trial Setting
13    vs.                                         )   Conference Calendared
                                                  )
14    RAYMOND SLATON, et al.,                     )   Date: August 22, 2016
                                                  )   Time: 8:30 a.m.
15                     Defendant.                 )   Judge: Hon. Lawrence J. O'Neill
                                                  )
16                                                )

17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective attorneys of record, that the schedule for filing and hearing on defendant’s motion to
19   suppress wiretap evidence be reset as follows:
20          File motions, July 11, 2016; Government reply, August 8, 2016; Motion Hearing, August

21   22, 2016.
22          The parties propose this stipulation because the defense needs additional time to prepare
23   a motion challenging the use of wiretap evidence. Since the motion schedule was set additional

24   discovery was requested by defense and was provided by the government on March 29, 2016 and
25   May 11, 2016. At this time, counsel for defendant, Raymond Slaton, needs additional time to
26   prepare his motion and there is a possibility that additional discovery will be requested.
27          The parties agree that the delay resulting from the continuance shall be excluded in the
28   interests of justice, including but not limited to, the need for the period of time set forth herein
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 1   for effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)

 2   and (iv).

 3
 4   Dated: June 2, 2016
                                                       BENJAMIN B. WAGNER
 5                                                     United States Attorney

 6
                                                       /s/ Kimberly A. Sanchez
 7                                                     KIMBERLY A. SANCHEZ
                                                       Assistant United States Attorney
 8                                                     Attorney for Plaintiff

 9   Dated: June 2, 2016

10                                                     HEATHER E. WILLIAMS
                                                       Federal Defender
11
12                                                     /s/ Victor M. Chavez
                                                       VICTOR M. CHAVEZ
13                                                     Assistant Federal Defender
                                                       Attorney for Defendant
14                                                     RAYMOND SLATON

15   Dated: June 2, 2016

16                                                     /s/ Eric K. Fogderude
                                                       ERIC K. FOGDERUDE
17                                                     Assistant Federal Defender
                                                       Attorney for Defendant
18                                                     DONELL MAYS

19   Dated: June 2, 2016

20                                                     /s/ Salvatore Sciandra
                                                       SALVATORE SCIANDRA
21                                                     Assistant Federal Defender
                                                       Attorney for Defendant
22                                                     SIDNEY ALLEN

23   Dated: June 2, 2016

24                                                     /s/ Anthony P. Capozzi
                                                       ANTHONY P. CAPOZZI
25                                                     Assistant Federal Defender
                                                       Attorney for Defendant
26                                                     OMAR LOPEZ

27
28

     CSlaton- Stipulation to Continue Motion Hearing     -2-
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 1                                                     ORDER

 2
 3             The request for additional time to file the motion/s, and the setting of the hearing on
 4   the motions is GRANTED as stated in the stipulation. Time is excluded.

 5             That said, the case is one year old this month. The Court hereby sets a Trial Setting

 6   Conference for Monday, June 20, 2016 at 8:30 a.m. in Courtroom 4 before the
 7   undersigned. Counsel should meet and confer on a suitable date before that hearing.

 8
     IT IS SO ORDERED.
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10
          Dated:        June 2, 2016                          /s/ Lawrence J. O’Neill _____
                                                       UNITED STATES CHIEF DISTRICT JUDGE
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     CSlaton- Stipulation to Continue Motion Hearing    -3-
